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                                                                   Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS
                              PEORIA DIVISION


STEPHEN HEIDELBERG, Administrator of the
Estate of CLEVE HEIDELBERG, JR.,

      Plaintiff;
                                                 Case No. 18-CV-01161
      v.

EMANUEL MANIAS, LARRY BERNARD,
RONALD HAMM, JERRY BRADY, PAUL                   The Honorable Judge Sara Darrow
HIBSER,         STEPHEN         HEIDELBERG,      Magistrate Judge Johnathan E. Hawley
Administrator of the Estate     of KENNETH
DECREMER,         STEPHEN       HEIDELBERG,
Administrator of the Estate of Estate of PAUL
HILST, STEPHEN HEIDELBERG, Administrator         JURY TRIAL DEMANDED
of the Estate      of BERNARD KENNEDY,
STEPHEN HEIDELBERG, Administrator of the
Estate   of NOLAN MACKLIN, STEPHEN
HEIDELBERG, Administrator of the Estate OF
JOHN RIDDLE, STEPHEN HEIDELBERG,
Administrator of the Estate      of WILLIAM
SCHALK, ROBERT L. WATSON, JR.,
Administrator of the Estate       of ROBERT
WATSON,          STEPHEN        HEIDELBERG,
Administrator of the Estate      of WILLARD
KOEPPEL,         STEPHEN        HEIDELBERG,
Administrator of the Estate of JOHN SACK,
UNKNOWN OFFICERS OF THE PEORIA
POLICE DEPARTMENT and THE PEORIA
COUNTY SHERIFF’S DEPARTMENT, the CITY
OF PEORIA, Illinois, and    the COUNTY OF
PEORIA, Illinois,

      Defendants.


                        SECOND AMENDED COMPLAINT

  Plaintiff STEPHEN HEIDELBERG, as the administrator of the estate of CLEVE

HEIDELBERG, JR., by his attorneys HALE & MONICO, LLC, and DONALD R. JACKSON,




                                                                            Exhibit A
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ESQ., and complaining of Defendants EMANUEL MANIAS, LARRY BERNARD, PAUL

HIBSER, STEPHEN HEIDELBERG, Administrator of the Estate of KENNETH DECREMER,

STEPHEN HEIDELBERG, Administrator of the Estate of Estate of PAUL HILST, STEPHEN

HEIDELBERG, Administrator of the Estate of NOLAN MACKLIN, STEPHEN HEIDELBERG,

Administrator of the Estate of WILLIAM SCHALK, ROBERT L. WATSON, JR., Administrator

of the Estate of ROBERT WATSON, STEPHEN HEIDELBERG, Administrator of the Estate of

JOHN SACK, UNKNOWN OFFICERS OF THE PEORIA POLICE DEPARTMENT and THE

PEORIA COUNTY SHERIFF’S DEPARTMENT (collectively “Defendant Officers”),

STEPHEN HEIDELBERG, Administrator of the Estate of BERNARD KENNEDY, STEPHEN

HEIDELBERG, Administrator of the Estate OF JOHN RIDDLE, STEPHEN HEIDELBERG,

Administrator of the Estate of WILLARD KOEPPEL, RONALD HAMM (collectively with the

Defendant Officers, the “1970 Defendants”), JERRY BRADY, the CITY OF PEORIA, Illinois,

and the COUNTY OF PEORIA, Illinois (“Peoria County”), and states:

                                      INTRODUCTION

       1.      Before his conviction was vacated, Cleve Heidelberg, Jr. spent forty-seven years

imprisoned for the coldblooded execution of Sergeant Raymond Espinoza, a murder Mr.

Heidelberg did not commit and a murder Defendants know he did not commit. Indeed, the 1970

Defendants knew well before his criminal trial that Mr. Heidelberg was innocent. Even more

disturbing, they knew that a man named James Clark was the actual killer well before Mr.

Heidelberg’s criminal trial.

       2.      Heidelberg’s only connection to the crime was that his car had been used in the

commission of the crime. The 1970 Defendants, however, knew that a man named Lester Mason

had borrowed Mr. Heidelberg’s car and, without Heidelberg’s knowledge, had given the car to




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Clark. The 1970 Defendants knew these facts because Mason told them these facts before

Heidelberg’s trial.

       3.      But even before Mason gave his statement, the 1970 Defendants had evidence that

implicated James Clark in the crime—indeed, they interrogated Clark four months before Mason’s

statement—and it came as no surprise when Clark confessed to the crime just weeks after

Heidelberg was convicted.

       4.      Nevertheless and even after Clark confessed, when Heidelberg informed the

presiding judge of Clark’s confession at his sentencing hearing and requested that Clark be allowed

to testify before he was sentenced, defendant Hamm vehemently objected and insisted that

Heidelberg be sentenced immediately and put to death. Although the judge sentenced Mr.

Heidelberg without hearing testimony from Clark, the judge spared Mr. Heidelberg despite

Hamm’s fervent argument that Heidelberg did not deserve to live.

       5.      Heidelberg’s arrest, indictment, detention, prosecution and conviction were based

entirely on false evidence fabricated by the 1970 Defendants. Included among that evidence was

a false lineup report that purported to claim that two eyewitnesses had picked Heidelberg out of a

lineup when the witnesses themselves repeatedly testified that they had not in fact identified him.

In addition, the 1970 Defendants conspired to and did manufacture and fabricate false

identifications from certain of the Defendant Officers who were involved in a high-speed car chase

with James Clark, and from a man named Jerry Lucas.

       6.      To secure Heidelberg’s wrongful prosecution and conviction, the 1970 Defendants

also suppressed and destroyed evidence, including Mason’s statement, James Clark’s interrogation

months before Mr. Heidelberg’s trial and the evidence that led to that interrogation, that would

have shown that Heidelberg was innocent, as well as evidence that could have been used to




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undermine the testimony of the State’s witnesses, including the testimony of the Defendant

Officers themselves.

        7.        At the same time, the 1970 Defendants disregarded and intentionally undermined

the ample evidence that indicated someone else had committed the murder of Sergeant Espinoza

and thwarted Mr. Heidelberg’s defense through the harassment and intimidation of critical

witnesses whose identities they discovered through their repeated (and admitted) unconstitutional

eavesdropping on confidential communications between Heidelberg and his counsel. The

eavesdropping also undermined the relationship between Heidelberg and his counsel effectively

depriving Mr. Heidelberg of his right to counsel.

        8.        A year-long investigation, that culminated in a manual search of FBI files buried

deep in the National Archives in Washington D.C., uncovered the gross misconduct of the 1970

Defendants as well as additional evidence which conclusively established Mr. Heidelberg’s

innocence. The results of the investigation were presented to defendant Brady who was and

continues to be the Peoria County State’s Attorney.

        9.        Although Brady feigned concern over the gross misconduct of the 1970

Defendants, he buried the results of the investigation for three months and, in breach of the duties

of his office, took no action to investigate the evidence presented to him. Brady did, however,

remain in regular contact with defendant Hamm, his long-time friend and mentor, who was one of

the state actors at the center of the investigation. The circuit court ultimately determined that due

to an actual conflict Brady had failed to discharge his duties as prosecutor and replaced him with

a special prosecutor who was ordered to conduct an independent investigation and prepare a report

for the court.




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       10.     Thereafter and over the course of two years, Brady engaged in egregious and

unethical misconduct and a gross abuse of process to thwart both the independent investigation

and Mr. Heidelberg’s post-conviction proceedings in order to protect Hamm and other state actors

and to deny Mr. Heidelberg access to the courts and to his right to judicial redress for the injuries

he suffered at the hands of the 1970 Defendants.

       11.     The Illinois Appellate Court for the Third District affirmed the circuit court’s

disqualification of Brady and itself independently determined that the evidence established that

Brady had an actual conflict and had failed to conduct a meaningful investigation.

       12.     On April 20, 2017, after four days of hearings and testimony from six witnesses,

the circuit court vacated Mr. Heidelberg’s conviction. In its ruling, the circuit court found that

there could be “no dispute” that James Clark had possession of Mr. Heidelberg’s car during the

time of the commission of the crime and that even the FBI, who assisted in the investigation, knew

Clark had Mr. Heidelberg’s car.

       13.     During the hearings, defendant Hamm lost control on cross-examination and

actually admitted that defendant Sack had perjured himself at Mr. Heidelberg’s trial and falsified

his identification of Mr. Heidelberg. He also admitted that he did not disclose Sack’s pre-trial

statements admitting he could not identify Mr. Heidelberg as the man driving the get-away car in

the high-speed chase and that he did not disclose Sack’s perjury to the court or to Mr. Heidelberg.

       14.     Defendant Manias also made stunning admissions during the hearings. He admitted

that James Clark had been interrogated before Mr. Heidelberg’s trial. He admitted that he spied on

privileged communications between Mr. Heidelberg and his counsel on two separate occasions.

And he admitted that he did not produce his notes from, or the content of, his interviews with the




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Defendant Officers who had been involved in the high-speed chase with and/or the subsequent

foot search for the perpetrator.

       15.     Mr. Heidelberg was 27 years old and just entering the prime of his life when he was

wrongfully convicted. He had an excellent job befitting his high intelligence and a 7-year-old son.

       16.     When his conviction was vacated, Mr. Heidelberg, having served nearly 47 years

for a crime he did not commit, was 74 years old. He died 10 months later.

       17.     From the moment of his arrest and throughout the nearly half century of his

incarceration, Mr. Heidelberg steadfastly maintained his innocence.

       18.     Plaintiff now seeks justice for the harm that Defendants have caused and redress

for the loss of liberty and the terrible hardship that Mr. Heidelberg endured and suffered as a result

of Defendants’ misconduct.

                                   JURISDICTION AND VENUE

       19.     This action is brought pursuant to 42 U.S.C. § 1983 et. seq. and Illinois law to

redress Defendants’ tortious conduct and their deprivation of Heidelberg’s rights secured by the

U.S. Constitution.

       20.     This Court has jurisdiction of Heidelberg’s federal claims pursuant to 28 U.S.C. §

1331 and supplemental jurisdiction of his state-law claims pursuant to 28 U.S.C. § 1367.

       21.     Venue is proper under 28 U.S.C. § 1391(b). Heidelberg resided in this judicial

district through his death. In addition, Heidelberg’s criminal case was investigated, tried, and

appealed in part of this judicial district, such that a substantial part of the events and omissions

giving rise to Heidelberg’s claims occurred within this district.




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                                               PARTIES

        22.     Stephen Heidelberg is the son of Cleve Heidelberg, Jr. and the duly appointed

administrator of his estate, as well as the duly-appointed administrator of the Estates of Kenneth

DeCremer, Paul Hilst, Bernard Kennedy, Nolan Macklin, John Riddle, William Schalk, Willard

Koeppel, and John Sack. Robert L. Watson, Jr., is the duly appointed administrator of the Estate

of Robert Watson.1

        23.     On May 26, 1970 and during all relevant times, defendants Emanuel Manias, John

Sack, Kenneth DeCremer, Larry Bernard and William Schalk were sheriff’s deputies or former

sheriff’s deputies of the Peoria County Sheriff’s Office.

        24.     On May 26, 1970 and during all relevant times, defendants Paul Hibser, Robert Lee

Watson and Paul Hilst were police officers or former police officers of the Peoria Police

Department.

        25.     Defendant Willard Koepple was the Sheriff of Peoria County, Illinois from

December 1967 to July 1970.

        26.     Defendant Bernard Kennedy was the Sheriff of Peoria County, Illinois from July

1970 to December 1975.

        27.     On May 26, 1970 and during all relevant times, defendants Ronald Hamm and John

Riddle were the Assistant State’s Attorneys or former Assistant State’s Attorneys who investigated

the attempted armed robbery of the Bellevue Drive-In and the murder of Sergeant Espinoza and

prosecuted Mr. Heidelberg.




1
 For the sake of simplicity and clarity, the estate-defendants will be referred to in the complaint by the
names of the decedents, i.e. “Kenneth DeCremer,” or “Defendant DeCremer”.


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       28.     Defendant Jerry Brady is and was the duly elected Peoria County State’s Attorney

at all times during his acts and omissions in connection with Mr. Heidelberg’s case as described

in this complaint.

       29.     Defendant the City of Peoria is an Illinois municipal corporation that was the

employer of defendants Paul Hibser, Robert Lee Watson and Paul Hilst, each of whom acted as

agents or employees of the City of Peoria. The City of Peoria is liable for all torts committed by

defendants pursuant to the doctrine of respondeat superior. Additionally, the City of Peoria is a

statutory indemnitor of its employees and is responsible for the policies and practices of the Peoria

Police Department.

       30.     Defendant Peoria County is a body politic and is a statutory indemnitor of

defendants Emanuel Manias, John Sack, Kenneth DeCremer, Larry Bernard, William Schalk,

Ronald Hamm, John Riddle and Jerry Brady. Peoria County is liable for any judgments related to

its agents and employees arising in the course of their employment pursuant to 745 ILCS 10/2-

302. In addition, Peoria County is responsible for the policies and practices of the Peoria County

Sheriff’s Office

       31.     Defendants Unknown Officers of the Peoria Police Department and the Peoria

County Sheriff’s Department participated in the misconduct alleged in this complaint.

       32.     Each and every individual defendant, known and unknown, acted under color of

law and within the scope of his or her employment or by agreement and in concert and conspiracy

with state actors once their employment terminated, including other defendants, at all times

relevant to this lawsuit. Each of the individual defendants is sued in his or her individual capacity

unless otherwise noted.




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                                              FACTS

                          The Murder of Sergeant Raymond Espinoza

       33.     On May 26, 1970 at approximately 1:30 a.m., a black man shot and killed a white

police officer—and took a white woman hostage—as he fled the scene of a botched armed robbery

at the Bellevue Drive-In. Police, responding to calls of officer shot, armed black man wearing a

yellow shirt and brown jacket with a female hostage in a Rambler, spotted a Chevy driving at a

high rate of speed on Harmon Highway at the merger point of Harmon and Lincoln. Police then

engaged in a high-speed chase down Lincoln until they lost sight of the Chevy as it turned onto

Blaine Street. The perpetrator continued down Blaine and crashed the car while attempting to turn

onto Butler Street.

       34.     By the time police reached the crash site, the perpetrator had abandoned the car and

fled on foot leaving the hostage and the murder weapon behind. Officers on foot along with two

police canines remained at and around the vicinity of the crash while squad cars continued to

canvass the area several blocks north where the perpetrator was last seen.

       35.     Peoria police officer Jerry Patty and his partner were canvassing the area about two

blocks north of the crash site when they spotted a black man running northbound away from the

crash site. Officer Patty jumped out of the squad car and chased the man until he lost sight of him

several blocks north of the crash site, never to see him again.

       36.     Nearly thirty minutes after the foot chase began and twenty-five minutes after

Officer Patty lost sight of the perpetrator, police received a call reporting a black man “walk[ing]”

in the direction of the crash site and only about a block away. That man was Cleve Heidelberg who

had loaned his car to a man named Lester Mason a couple of hours earlier and had been told by

Mason to pick up his car in the vicinity of the crash site.




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        37.     Within less than a minute, Peoria City police and County Sheriff’s officers and

police canines had descended on Mr. Heidelberg. The officers knocked Heidelberg unconscious,

threw him to ground and handcuffed him. After Heidelberg was cuffed and down, they unleashed

the canines on him and began viciously kicking him in the head, neck and face while the canines

attacked his body. Heidelberg did not move at all during the attack which lasted 10 to 12 minutes.

        38.     So certain were the officers that they had their cop killer in hand and without having

asked a single question, more than one of them yelled “we ought to kill him and say he was

resisting arrest.”2

        39.     And that was the start and finish of the investigation into the murder of Sergeant

Espinoza. Thereafter, every action taken by the 1970 Defendants and other Peoria police and

Sheriff’s officers was calculated to confirm Mr. Heidelberg’s guilt and ensure his conviction no

matter the actual evidence.

        40.     When Mr. Heidelberg was attacked by police, he was wearing his eyeglasses and

they remained intact after the assault. When he was processed at the police station before he was

taken to the hospital and before the failed lineup, those eyeglasses, along with all other items found

on Mr. Heidelberg’s person, were confiscated and put under lock in a vault at the Peoria County

Jail.

        41.     In addition, Mr. Heidelberg was wearing a blue shirt and a gray sports coat not the

yellow shirt and brown jacket described by police radio transmissions when he was attacked and

then taken into custody by Peoria County and Peoria City police officers.




2
 James Polk and his wife Patricia Ann, who had been watching the brutal attack from their home,
attempted to come to Mr. Heidelberg’s rescue asking the police to please stop the beating to no avail.
The attack continued until Mrs. Polk began screaming when she heard officers suggest that Mr.
Heidelberg be murdered at police hands.


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       42.     Throughout the attack, the arresting officers were repeatedly asking Heidelberg to

tell them who he was with and were repeatedly telling him that he shouldn’t take the rap himself.

There were never any reports or radio transmissions that more than one man was involved in the

armed robbery nor were there any reports that more than one man was seen in the Chevy. The

officer leading the attack and questioning, defendant Robert Lee Watson, was eventually

suspended for his role in the attack. Some of the other Defendant Officers were also present at the

arrest, including defendants Sack and Hibser.

       43.     These defendants were asking Mr. Heidelberg about an accomplice because,

contrary to their later claims, they had not been able to sufficiently see the driver of the Chevy to

identify his clothes or his face or whether he was wearing glasses during the high-speed chase and

because Heidelberg did not match the description broadcast over police radio.

                                        The Eyewitnesses

       44.     Defendants Bernard and Schalk were the first to arrive at the Drive-In after the

shooting where they found Jerry Lucas, a purported paid informant who had been riding with

Sergeant Espinoza, cradling Espinoza’s bleeding head in his arms and lap. They also found

Espinoza’s gun shoved down Lucas’ pants. Maurice Cremeens, the projectionist at the Drive-In,

had remained in the projection booth after calling the Sheriff’s office and did not witness the

shooting. Mayme Manuel, office manager, witnessed the shooting prior to being taken hostage by

the perpetrator. All three eyewitnesses were taken to the Peoria County jail to view a lineup that

included Mr. Heidelberg.

                    Evidence Recovered from the Drive-In and Crash Site

       45.     At the Drive-In, police found bullets and spent cartridges and a flashlight that the

perpetrator had taken from the office at the Drive-In. At the crash site, police found the murder




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weapon on the driver’s seat of the Chevy. They also found, on the driver’s side floor of the car, a

pair of tinted prescription eyeglasses (described by police as “prescription sunglasses”) that had

fallen out of the perpetrator’s pocket while he was making his escape after shooting Sergeant

Espinoza and that had been stepped on and cracked when the perpetrator exited the Chevy and

made his escape after the crash. The police also found ignition keys and a portable transistor radio

in the car.

        46.     Peoria County Officer Robert Cone immediately processed the crash site for

fingerprints and other forensic evidence and did not find Heidelberg’s fingerprints anywhere on or

in the car.

        47.     Police determined at some point after his arrest that the Chevy was registered to

Mr. Heidelberg.

                                        The Failed Lineup

        48.     After treatment for the injuries sustained in the attack, Mr. Heidelberg was taken to

the Peoria County jail, denied a lawyer and forced, that is, physically pushed, into a lineup.

Defendant Manias who was the lead detective on the case conducted the lineup. Defendants

Hamm, Sack, DeCremer, Watson, Hilst and Hibser as well as other city and county officers were

at the jail during the lineup. The lineup consisted of four men and was run twice, the second time

in reverse order. Mr. Heidelberg was assigned position #3 in the first run of the lineup and position

#2 in the reverse run. The participants in the lineup were in a room adjacent to the witness viewing

room with Manias. Manias brought each participant individually to a viewing window on the

adjacent wall. The witnesses could only see one lineup participant at a time and at no time did they

see the participants all together.




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          49.     Ms. Manuel, the hostage and office manager, was not able to identify any of the

men in the lineup as the man who attempted to rob the Drive-In, shot Sergeant Espinoza and took

her hostage in either the original lineup or the reverse lineup. In her words: “I didn’t see anything

. . . I couldn’t see anybody,” “I didn’t see anybody [at the lineup]” and “No [I didn’t make an

identification], because I couldn’t tell who they [the participants] were or what they were, they

looked like moving objects.”

          50.     As for Mr. Cremeens, he identified the man in position #3 (Heidelberg) in the first

run of the lineup and the man in position #1 (a man named George Johnson) in the second run.

Cremeens also recanted any purported identification during the lineup less than three months after

the lineup and three months before trial. In his words, the “man” he identified in the lineup3

“looked different” than the man he had seen at the Drive-In but the man he identified (who, again,

looked different than the man at the Drive-In) “looked like [Heidelberg]” in that “he was clean

shaven and had fairly short hair.” Thus, Cremeens was unable to identify Heidelberg as either of

the men he identified at the lineup.

          51.     Likewise, Jerry Lucas did not identify Mr. Heidelberg during the lineup as the man

he made eye contact with and saw shoot and kill Sergeant Espinoza. Instead, when Heidelberg was

brought to the viewing window, Lucas, who knew Heidelberg (although Heidelberg did not know

him), spontaneously uttered the words “That’s Cleve.”

          52.     Manias prepared a written report in which he documented the results of both runs

of the lineup. That report was not disclosed to Mr. Heidelberg and was ultimately destroyed by the

1970 Defendants.




3
    Again, Cremeens identified two different men during the course of the lineup.


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        53.    Although defendants Sack, DeCremer, Watson, Hilst and Hibser were at the jail

when the lineup was conducted and had participated in the car chase and/or the foot search, not

one of them participated in the lineup as a witness. They did not do so because not one of them

was able to see the driver of the Chevy sufficiently to identify anything about his clothing or his

face or any identifying information other than that he was a black male and they had told this to

Manias and Hamm before the lineup was conducted.

        54.    Indeed, Manias admitted during the 2017 post-conviction hearings that he

interviewed all the county and city officers involved in the high-speed chase and/or foot chase,

which included Sack, DeCremer, Watson, Hilst and Hibser, the “night” of the shooting and that he

took notes of those interviews. Manias also admitted that he did not turn those notes over to Mr.

Heidelberg or Hamm. Hamm, however, was present at the jail and himself spoke with these

defendants. In addition, Manias admitted that he discussed his notes and the interviews with

Hamm.

        55.    In fact, on cross-examination during Heidelberg’s post-conviction proceedings,

Hamm became extremely agitated and flustered and actually admitted under oath that Sack told

him he could not identify Heidelberg. Hamm also admitted that he did not disclose this statement

to Heidelberg prior to trial or at any time thereafter. Hamm further admitted that when Sack

perjured himself on the stand and identified Heidelberg as driver of the Chevy, he did not inform

the court or Heidelberg of the perjury.

        56.    Defendant Hibser also publicly admitted during an audio-taped interview with

Peoria public radio and during a video-taped re-enactment filmed by NBC that he would not have

been able to identify Mr. Heidelberg in the lineup. Neither Hibser nor Hamm nor Manias ever

disclosed this information to Heidelberg before, during or at any time after his trial.




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       57.     The 1970 Defendants also failed to disclose the content of all of the officer

interviews to Heidelberg and either suppressed or destroyed any notes or reports documenting the

interviews.

         Hamm, Manias and Riddle Ignored This Early and Compelling Evidence

       58.     In the first two hours of their “investigation,” Hamm, Manias and Riddle ignored

five critical pieces of evidence that should have led them to reconsider whether they had the right

man in custody.

       59.     First, they failed to question why a perpetrator who had successfully eluded police

would return to the crash site nearly thirty minutes after he had escaped when he knew that a

manhunt was underway for a cop killer and when the crash site was already swarming with police

even as he made his escape.

       60.     In fact, the unidentified neighbor who called the police to report that there was a

black man “walk[ing] up” his block did so only because of the intense police activity in the area

(“the policemen are all around here”). If the neighbor could see the police swarming the area from

inside his house, Mr. Heidelberg would have seen and heard them as well. Had he been the

perpetrator, he would not have continued to calmly walk into the hive of police activity.

       61.     Second, in addition to the extremely unlikely event that the black killer of a white

police officer in 1970 Peoria would return to the secondary crime scene was the fact that Mr.

Heidelberg was wearing his eyeglasses when he was attacked and taken into custody. The 1970

Defendants knew that the perpetrator’s eyeglasses were found in the Chevy. Moreover, Cremeens

and Manuel both told Manias and Hamm that the perpetrator was not wearing glasses.

       62.     Third, they ignored the fact that Mr. Heidelberg was wearing a blue shirt and gray

sports coat not a yellow shirt and brown jacket as was broadcast over police radio.




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         63.    Fourth, they ignored that Mr. Heidelberg’s fingerprints were not found on or in the

Chevy.

         64.    While the above evidence in and of itself was certainly more than sufficient to give

the 1970 Defendants pause, that evidence coupled with the fifth piece of evidence, the failed

lineup, should have put them on high alert that they had the wrong black man in custody.

         65.    However, unwilling to re-examine their presumption of guilt and release Mr.

Heidelberg as they should have after the failed lineup, the 1970 Defendants played their final card

and their last hope later that morning when Officer Cone boarded a plane to Washington D.C. and

hand-delivered the flashlight, the keys, the radio and the broken eyeglasses along with the gun,

bullets and spent cartridges to the FBI laboratory and requested a ballistics and fingerprint

examination.

                                        The FBI Telegram

         66.    Two days after the failed lineup, the 1970 Defendants were informed through a

May 28, 1970 telegram from the FBI that Heidelberg’s prints were not on the murder weapon.

These defendants also knew that Heidelberg’s prints were not found on or in the Chevy. The 1970

Defendants did not disclose the telegram and at least one further FBI latent fingerprint report

documenting the results of the fingerprint testing of the items found in the Chevy and at the Drive-

In to Mr. Heidelberg. Indeed, defendant Hamm told the court that no such reports existed.

         67.    Without his prints on the murder weapon or Chevy and with no eyewitness

identifications, the 1970 Defendants knew that they did not have probable cause to arrest Mr.

Heidelberg for, much less charge him with, the murder of Sergeant Espinoza. Ownership of the

car alone was insufficient because the car could have been stolen or, as was the case here,

Heidelberg could have loaned his car to someone else.




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       68.     Undeterred by this utter lack of evidence and still as convinced of Heidelberg’s

guilt as the arresting officers were when they contemplated murdering him before they even knew

his name, the 1970 Defendants, rather than releasing Mr. Heidelberg as the law required, embarked

on a course of stunning misconduct to ensure he was prosecuted for and convicted of Sergeant

Espinoza’s murder.

       69.     That course of misconduct included: (i) spying on privileged communications

between Heidelberg and his counsel (and later using the information obtained through that spying

to intimidate alibi and occurrence witnesses and thwart Mr. Heidelberg’s defense); (ii) destroying

the original lineup report; (iii) hiring a witness to testify against Heidelberg; (iv) suppressing

exculpatory FBI fingerprint reports; (v) suppressing their interview of the actual killer within

weeks of the murder as well as suppressing the facts and circumstances which led to these

interviews; (vi) intimidating defense witnesses and (vii) fabricating eyewitness identifications.

                         Manias Spies On Heidelberg And His Counsel

       70.     Two days after receiving the telegram, defendant Manias placed a late-night call to

Heidelberg’s public defender Jack Brunnmeyer’s home sometime after 10:00 p.m. on May 30,

1970 and left an urgent message for him. Within thirty minutes, Brunnmeyer returned the call and

Manias falsely told him that Heidelberg had confessed and was insisting on making an immediate

statement to police. Once Brunnmeyer arrived (at approximately 11:15 p.m.), Manias spied on

privileged attorney/client communications for over an hour and learned several critical facts that

should have been investigated but instead triggered the manufacture of a series of false police

reports as well as fabricated police identifications designed to thwart Heidelberg’s defense and

ensure his conviction.




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       71.     During that hour, Manias learned that: (i) Heidelberg had loaned his car to “a Lester

Mason;” (ii) Heidelberg had been at the “T&T Club” during the commission of the crime; (iii)

other people had seen Mr. Heidelberg at the club; (iv) when Heidelberg was on his way to retrieve

his car, he saw “alot [sic] of Police cars in the Area” but nonetheless continued to the location

where Mason had told him he had left Heidelberg’s car; and (v) Heidelberg’s counsel warned him

not to tell anyone about his alibi defense for fear of police tampering with alibi witnesses.

       72.     Manias, without fear of any consequences, documented this instance of

unconstitutional eavesdropping in a report that was put in Heidelberg case file. None of the 1970

Defendants disclosed the report or Manias’ unconstitutional conduct to Heidelberg or the court or

any competent prosecutorial authority at any time prior to or during his trial or during his post-

trial section 72 proceedings. Manias was not disciplined; he was promoted. Even more egregious,

Hamm, Riddle and the remaining 1970 Defendants used the privileged information Manias

obtained in this and other instances of eavesdropping as a road map to construct their fabricated

case against Mr. Heidelberg and to drive a wedge between Heidelberg and his counsel.

       73.     Indeed, because these defendants acted on the privileged information they received

in the earliest stages of the investigation and throughout the pre-trial period, Heidelberg became

convinced that his counsel was disclosing confidential information about his defense to Hamm and

Riddle. As such, Heidelberg filed a motion to proceed pro se at a critical time in his case in which

he accused his counsel of such disclosures. Although the trial judge told Heidelberg that he faced

complex legal issues and the death penalty and that proceeding pro se would be a “tragedy,” he

granted Heidelberg’s motion.

       74.     Defendant Koepple knew or should have known of the unconstitutional

eavesdropping taking place within his office. Indeed, Koepple knew of Manias’ misconduct from




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the very first days of the investigation and relieved him of his duties as lead detective assigning

him to work at the Peoria County Jail during the night shift. However, Koepple did not take any

action to expose Manias’ misconduct, including his eavesdropping to Heidelberg or any competent

authority and he failed to prevent further eavesdropping and other misconduct by Manias and the

other Defendant Officers while Heidelberg was in their custody at the jail.

        75.     Likewise, defendant Kennedy, who succeeded Koepple and who knew or should

have known of Manias’ misconduct, not only failed to intervene or expose Manias, he actually

promoted him to the position of Sergeant to fill the vacancy created by the death of Sergeant

Espinoza.

        76.     As a direct result of the 1970 Defendants actions, Mr. Heidelberg was wholly

deprived of his constitutional right to counsel.

        77.     And Mr. Heidelberg’s defense was so thwarted and his trial was so tainted that he

was effectively denied not just his right to a fair trial but his right to trial altogether.

                                   The Fabricated Lineup Report

        78.     The 1970 Defendants now knew that Mr. Heidelberg intended to raise an alibi

defense. They also knew that a “Lester Mason” (and perhaps others) could testify that Mason

borrowed Heidelberg’s car and that several other people had seen Heidelberg at the “T&T Club”

and elsewhere during the time the shooting had occurred.

        79.     Rather than investigate these critical facts, at defendant Macklin’s direction, the

original lineup report was destroyed and Manias prepared a second lineup report in which he

falsely reported that Manuel and Cremeens had identified Mr. Heidelberg in both the original and

reverse run of the lineup and further falsely claimed that Heidelberg had waived his right to an

attorney and voluntarily participated in the lineup with no attorney present.




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       80.     The 1970 Defendants who were present at the jail when the lineup was conducted

knew or should have known that the second lineup report was false. In fact, during his investigation

and only two days after the lineup was conducted, Hamm interviewed Manuel and she told him

she could not see any of the participants in the lineup nor could she make an identification because

her glasses had been broken during the commission of the crime. Hamm also knew Cremeens had

identified two different men at the lineup.

       81.     In addition to fabricating a lineup report, the 1970 Defendants capitalized on Lucas’

spontaneous utterance “That’s Cleve” to fabricate an additional eyewitness identification.

Specifically, defendant Macklin asked Lucas whether “he was acquainted with the suspect,

Heidelberg” and “if he would testify that Heidelberg was the guilty party that shot and killed

Espinoza.” Lucas told Macklin that he did know Heidelberg and agreed to identify him as the man

who shot Sergeant Espinoza. Macklin promptly paid Lucas $40, an amount equivalent to over

$250 today. Under the guise of paying Lucas as a confidential informant, Macklin continued

making payments to Lucas up to and through the trial in an amount equal to about $2000 today.

       82.     There were no records to support Macklin’s claim that Lucas worked as a

confidential informant for the police at any time prior to the shooting and, as Macklin admitted,

the payment he made to Lucas during their meeting was the first payment ever made by the police

to Lucas. In addition to receiving a steady stream of cash, police were also paying his room and

board expenses and had agreed to do so through Mr. Heidelberg’s trial.

       83.     After purchasing his identification, Manias and Macklin also falsely claimed that

Lucas had identified Heidelberg at the lineup.

       84.     Manias, Macklin, Hamm and Riddle had additional meetings with Lucas during

which they instructed him to falsely claim that Manuel and Cremeens whispered their




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identifications into an officer’s ear and to suppress the content of his initial meeting with Macklin.

The 1970 Defendants did not disclose the meetings with Lucas or their content to Mr. Heidelberg

prior to trial.

        85.        The falsified lineup report and Lucas’ purchased identification served two very

important purposes. First, the falsified identifications gave the 1970 Defendants the “probable

cause” necessary to arrest Heidelberg, charge him with the crime and keep him incarcerated.

Second, it enabled Manias to testify at trial that Manuel and Cremeens identified Heidelberg in the

lineup conducted almost immediately after the crime occurred.

          The 1970 Defendants Fabricate Officer Identifications And Police Reports

        86.        Because Lucas was an unemployed hustler with an extensive criminal record, the

1970 Defendants knew they needed more than his identification to defeat Mason’s occurrence

testimony and Heidelberg’s alibi testimony.

        87.        They also knew they needed an explanation for the fact that Mr. Heidelberg was

wearing a blue shirt and gray sports coat when he was arrested not the yellow shirt and brown

jacket reported by witnesses and broadcast over the police radio. In addition, they had to contend

with Manuel and Cremeens’ statements that the perpetrator was not wearing glasses. To that end,

they suppressed and fabricated more evidence.

        88.        First, they suppressed the tapes of the radio transmissions and falsely reported to

Heidelberg and the court that they had been destroyed. In fact, the tapes were never destroyed and

had been transcribed by these defendants on June 18, 1970. The tapes were never produced to

Heidelberg and the transcript was produced on the eve of trial depriving Heidelberg of the time

necessary to examine or investigate or utilize their content in his defense.




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       89.     Second, they suppressed and/or destroyed the notes and reports documenting the

interviews of Sack, DeCremer, Watson, Hilst and Hibser during which they told Manias and

Hamm that they could not identify the driver of the Chevy.

       90.     Third, they agreed that Sack, DeCremer and Watson would prepare fabricated

police reports in which they would falsely document that they had seen the driver of the Chevy

during the high-speed chase and that he was wearing a blue shirt, a gray sports coat and glasses.

They also agreed that Watson would falsely document that he knew Heidelberg and recognized

him as the driver during the high-speed chase.

       91.     Fourth, the 1970 Defendants further agreed that Sack, DeCremer and Watson would

falsely testify that Heidelberg was the driver of the Chevy. The 1970 Defendants also agreed that

Hilst would falsely testify that he saw the driver during the high-speed chase and that he was

wearing a blue shirt, gray sports coat and glasses and that Hibser would falsely testify that he saw

the driver exit the Chevy after it crashed and that the driver was the same man (Heidelberg) that

was arrested over thirty minutes later.

       92.     Fifth, the 1970 Defendants agreed that Bernard and Schalk would prepare a

fabricated police report in which they would document that Lucas had identified himself over

Sergeant Espinoza’s squad radio and that Bernard and Schalk would falsely testify that when they

arrived at the Drive-In, they noticed that Lucas was wearing a yellow shirt and brown jacket. In

addition to these fabrications, Bernard and Schalk suppressed the true description of the clothes

Lucas was wearing that night—exculpatory evidence that was critical to Mr. Heidelberg’s ability

to demonstrate that the wrong man was apprehended. Bernard and Schalk’s fabrication and

suppression was critical to providing purported probable cause to arrest, charge, detain and

prosecute Mr. Heidelberg, and in convicting him, because Bernard and Schalk were the only




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officers who questioned Lucas at the crime scene and who, therefore, through their fabrication and

suppression, were able to (falsely) account for the discrepancy between the radioed description of

the offender’s clothing (yellow shirt/brown jacket) and the clothes Heidelberg was wearing when

he was arrested (blue shirt/gray sports coat).

       93.     The 1970 Defendants also went to work on Manuel and Cremeens. They met with

them repeatedly and fed them facts about the case and told them what the Defendant Officers were

claiming to pressure and induce them to agree to testify falsely that Heidelberg was the perpetrator.

And Manuel and Cremeens did just that—they falsely identified Heidelberg at his trial as the

perpetrator of the attempted armed robbery and murderer of Sergeant Espinoza.

       94.     Neither the meetings with Manuel and Cremeens nor the content of the discussions

at the meetings were ever disclosed to Heidelberg prior to trial.

       95.     Moreover, their fabricated identifications were buttressed at trial through the use of

the fabricated lineup report

       96.     Likewise, Sack, DeCremer and Watson’s fabricated in-court identifications (which

included the false claims that the driver of the Chevy, the undisputed offender, was wearing a blue

shirt and gray sports jacket) were buttressed through the use of fabricated reports and through

Bernard and Schalk’s fabrication that Lucas was wearing a yellow shirt and brown jacket and their

false report that Lucas had so identified himself over radio transmissions.

                          The Pre-Trial Interrogation of James Clark

       97.     Also prior to Mr. Heidelberg’s trial, two FBI agents interrogated James Clark about

the murder of Officer Espinoza while he was in the Rock Island County jail awaiting trial on

charges of armed robbery. Clark denied involvement but it became clear to him that police knew




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he was in Heidelberg’s car. To “counter this,” Clark told the agents that he had been in

Heidelberg’s car for a few minutes on May 26, 1970.

       98.      During Mr. Heidelberg’s post-conviction proceedings, Manias admitted that James

Clark was in fact interrogated at the Rock Island County jail. Although Manias claimed he could

not recall whether the interrogation occurred in July 1970, he admitted the interrogation “may”

have occurred before Heidelberg’s trial.

       99.      A police report in Heidelberg’s criminal files confirms Clark’s July 1970 arrest in

Rock Island, Illinois and also confirms that he pleaded guilty on September 18, 1970. Thus, the

latest the Rock Island interrogation could have taken place was mid-September 1970, two and a

half months before Heidelberg’s trial commenced. The report detailing Clark’s arrest and guilty

plea was not produced to Heidelberg before trial or at any time prior to a 2016 FOIA request.

       100.     For nearly fifty years, Mr. Heidelberg resolutely suspected and therefore alleged

that the 1970 Defendants suppressed or destroyed an FBI fingerprint report that identified James

Clark’s prints on one of the items found at the Drive-In or in the Chevy. And for nearly fifty years,

various state actors, including the 1970 Defendants, have denied that any such report exists.

       101.     However, neither the 1970 Defendants nor any state actor ever disclosed the pre-

trial interrogation of James Clark prior to Manias’ admissions during the 2017 post-conviction

hearings nor did they ever produce the evidence that led to the interrogation. In fact, there are no

police reports or any other documents recording statements from any individual that identify James

Clark as a potential suspect. But there are additional reports relating to James Clark’s arrest in

Rock Island.

       102.     And, in a slip that would give even Freud pause, another report dated June 8, 1970,

refers to “Cleve Heidelberg” as “James Heidelberg.”




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                                         Lester Mason

       103.    In addition to his admission that he eavesdropped on privileged communications

between Heidelberg and his counsel just a few days after the shooting, Manias also admitted during

Heidelberg’s 2017 post-conviction hearings that notes he had taken of another conversation

between Heidelberg and his counsel were prepared the morning of the shooting after the failed

lineup when Heidelberg was first allowed to meet with a lawyer. Thus, the 1970 Defendants knew

within hours of the shooting that Heidelberg had loaned his car to Lester Mason and that

Heidelberg was in the area of the crash because Mason had told him to go to that general vicinity

to pick up his car.

       104.    Manias’ notes were not produced to Heidelberg at any time prior to his 2017 post-

conviction proceedings and, in fact, they were only produced then on the eve of the hearings.

       105.    Manias admitted that he did not attempt to interview Mason after spying on these

privileged communications and claimed Mason “wasn’t available” to him. In fact, Mason, who

was in incarcerated from June 1970 through the end of the trial and for several years thereafter,

was always available to Manias and the 1970 Defendants. He was also available to defendant

Brady during his purported investigation of Mr. Heidelberg’s case.

       106.    The 1970 Defendants did not interview Mason until November 1970 because they

did not want to expose their eavesdropping. They determined to wait until Heidelberg disclosed

Mason on his notice of alibi defense and then use that disclosure as a pretext for “interviewing”

Mason. Their intention was not to interview Mason; it was to threaten, intimidate and/or bribe

Mason into fabricating evidence against Heidelberg or keeping his mouth shut.

       107.    The court allowed Heidelberg to delay filing his notice of alibi defense until an

expected ruling from the Illinois Supreme Court on the issue of whether requiring a criminal




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defendant to disclose his/her alibi witnesses was constitutional was issued. The 1970 Defendants

patiently waited for five months but, with no ruling and the trial scheduled to start in two weeks,

they decided to go ahead and interview Mason before it was too late.

       108.    As Hamm admitted during Heidelberg’s 2017 post-conviction hearings, he

questioned Mason twice before Heidelberg’s trial.

       109.    He first questioned Mason in early November 1970. Riddle and an unknown Peoria

County Sheriff’s officer were with Hamm. During that meeting, Hamm and Riddle told Mason

that Heidelberg was claiming that he had loaned his car to Mason on the night/morning of the

shooting. Mason told them that he had in fact borrowed Heidelberg’s car and given it to James

Clark and that Clark, not Heidelberg, had the car during the time of the robbery and shooting.

Hamm and Riddle told Mason that Heidelberg was trying to pin the crime on him and that if he

testified on Heidelberg’s behalf and Heidelberg was found not guilty, he could be charged with

the crime.

       110.    On November 12, 1970, Mr. Heidelberg filed his notice of alibi defense disclosing

his alibi witnesses. Mason was not on the list because he was an occurrence witness not an alibi

witness and Heidelberg was not required to disclose Mason as an occurrence witness under the

rules of discovery in criminal proceedings as they existed at the time of his trial.

       111.    On November 13, 1970, the very next day, Hamm and Riddle amended their

witness list to include Mason. In 2016, Hamm claimed that during that meeting, Mason denied

borrowing Heidelberg’s car and, in Heidelberg’s 2017 post-conviction proceedings, he claimed he

added Mason to his witness list because he liked what Mason had to say. However, Hamm did not

call Mason as a witness during Heidelberg’s trial.




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        112.     When Heidelberg asked for a writ to bring Mason from prison to the court to testify,

the 1970 Defendants knew that Mason would testify that he had borrowed Heidelberg’s car and

given it to James Clark. To stop that testimony, Hamm and Riddle went to Mason’s cell in the

Peoria County Jail the night before he was to testify and brought Mason’s common law wife, Mary,

with them. At Hamm and Riddle’s direction, Mary told Mason that Heidelberg, through his

witnesses, was trying to lay the crime at Mason’s feet. Hamm and Riddle then allowed Mason and

Mary to have a conjugal visit.

        113.     Because of the threats from Hamm and Riddle, Mason was not sure whether he was

going to testify at Heidelberg’s trial. When Mason was brought to the courthouse the next day and

almost immediately before he testified, Riddle, with Hamm’s knowledge, put Mason in a wired

room4 and instructed him to listen to the testimony of Junius Whitt.

        114.     In summary, Whitt testified that he, a man he referred to as “Curtis Smith,” Lester

Mason, Matthew Clark (James’ younger brother) and Mike Biehl were together the late night/early

morning of the shooting and that he, “Smith” and Mason discussed committing a robbery together.

Smith proposed robbing a Drive-In and the men eventually dropped Whitt off at his house to

change his clothes and get his guns while Smith and Mason drove Matthew Clark and Biehl to a

club down the street. Smith returned to Whitt’s house a few minutes later and Whitt decided to

withdraw from the plan but he loaned one of his guns to Smith.




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  Because Mr. Heidelberg continued to challenge the integrity of his trial and repeatedly argued that he
could not under any circumstances receive a fair trial in Peoria County, the trial court ordered that a witness
room be fitted with speakers wired to the courtroom and that Heidelberg be removed from the courtroom
to that witness room during times he challenged the court and objected to the continuation of the trial.


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       115.    Because Whitt did not know that Mason had also withdrawn from the plan after

Mason and Smith dropped off Matthew Clark and Biehl, his testimony left the impression that

Mason was still on board and thus also implicated Mason in the actual commission of the crime.

       116.    After listening to Whitt’s testimony, Mason exercised his Fifth Amendment rights

in response to virtually every question put to him at trial. Heidelberg also called Matthew Clark,

who had refused to speak with Heidelberg at any time prior to, during or after his trial, to the stand

but he too took the Fifth in response to every question put to him. As Matthew would later reveal

after James Clark’s death, James had confessed to him just a few hours after the shooting and he

took the Fifth to protect his brother from the death penalty or life in prison.

       117.    The 1970 Defendants did not disclose Mason’s statements that he had borrowed

Heidelberg’s car and had given it to James Clark and that James Clark had possession of

Heidelberg’s car during the time of the commission of the crime. Nor did they disclose the tactics

they used to intimidate Mason and stop him from testifying.

       118.    Mason’s testimony was critical to Heidelberg’s defense. Mason was alone when he

borrowed Heidelberg’s car. He was also alone when he gave Heidelberg’s car to James Clark and

he did so without Heidelberg’s knowledge. Thus, Mason was the only witness who could provide

an explanation for the use of Heidelberg’s car in the commission of the crime.

       119.    Mason was also the only witness who knew that Clark crashed Heidelberg’s car.

Mason and Clark had agreed that Clark would call Mason at a local bar so they could meet up and

Clark could return Heidelberg’s car. When Clark called Mason, however, he told him that “things

didn’t go right” and told him where he could pick up Heidelberg’s car. Mason then found

Heidelberg in a nearby club and told him he had left Heidelberg’s near the general vicinity of the

crash site. He did not tell Heidelberg that Clark had had his car or that the car had been used in the




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commission of a crime. Heidelberg hitched a ride with a friend who dropped him off in the area of

the crash site where Heidelberg was arrested as he searched for his car.

        120.     Although Whitt used the alias “Curtis Smith” to protect James Clark, the 1970

Defendants knew that Smith was actually James Clark. When Heidelberg’s pre-trial search for a

“Curtis Smith” was unsuccessful, the 1970 Defendants falsely told him that a “Curtis Smith” did

in fact exist but that they had not been able to locate him. Thus, not only did they fail to disclose

Smith’s true identity, they misled Heidelberg into continuing his futile search for a man they knew

did not exist.

        121.     If the 1970 Defendants had disclosed their July 1970 interrogation of James Clark

and Clark’s admission that he had been in Heidelberg’s car or the evidence that led them to Clark,

or Mason’s statement that Clark had Heidelberg’s car during the time of the commission of the

crime, Heidelberg could have (as the 1970 Defendants should have) shown Manuel and Cremeens

a picture of Clark and asked them whether he was the man they saw that night at the Drive-In and

he could have otherwise further investigated Clark’s involvement in the crime. He also could have

called Clark as a witness at his trial and even elicited a confession from Clark before he was

convicted. After all, Clark did confess just weeks after Heidelberg was convicted.

        122.     In committing the misconduct described in the preceding paragraphs, the 1970

Defendants made an agreement with one another, and with others currently unknown to Plaintiff,

to individually, jointly, and/or in conspiracy fabricate and suppress evidence to initiate and

perpetuate false criminal charges against Mr. Heidelberg, to maliciously prosecute him, to secure his

wrongful conviction and incarceration and to deprive him of his right to defend at himself at trial.




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                                   Heidelberg Is Found Guilty

       123.    As a direct result of the violation of Mr. Heidelberg’s Sixth Amendment rights, the

1970 Defendants deprived him of his right to present a defense against the false charges brought

by these defendants. Their actions also constituted a fraud upon the court and the jury.

       124.    And as a direct result of the suppression and destruction of material exculpatory

and impeaching evidence and the fabrication of inculpatory evidence as set forth above, the jury

found Mr. Heidelberg guilty of the murder of Sergeant Espinoza and the attempted armed robbery

of the Bellevue Drive-In.

                                 The Confession of James Clark

       125.    On the heels of Mr. Heidelberg’s conviction, James Clark was sent to the same

prison that housed Heidelberg to serve two concurrent sentences of 6 to 8 years for the armed

robberies he committed in July 1970 in Rock Island, Illinois. Shortly after he arrived, Clark began

sending notes to Heidelberg through a man named Robert Butler. In those notes, Clark told

Heidelberg that he was considering writing to Heidelberg’s trial judge or other authorities to let

them know what had really happened on May 26, 1970. Heidelberg left that prison, however,

without the men ever having met. A short time later, Heidelberg’s trial counsel interviewed Clark

who stopped short of fully confessing.

       126.    During the 2017 post-conviction hearings, Hamm falsely denied that he had any

knowledge of a confession by Clark while he was involved in Mr. Heidelberg’s criminal

proceedings. In fact, at Heidelberg’s January 25, 1971 sentencing hearing, Hamm successfully

objected to Heidelberg’s request that his sentencing be delayed and that he be allowed to bring

James Clark to testify before the court.




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       127.    In February 1971, James Clark publicly confessed in an interview with the Peoria

Journal Star. In October 1971, Clark gave a detailed affidavit of confession. The facts of Clark’s

confession were materially consistent with (but not identical to) the testimony of Officer Patty,

Manuel, Cremeens and Whitt. Notably, Mr. Heidelberg did not request a transcript of the testimony

at his trial until January 19, 1972 and the transcription of the first day of testimony was not

completed until March 16, 1972 and transcription of the last day of testimony was completed on

August 11, 1972. The confession is also consistent with Matthew Clark and Lester Mason’s

account of events as they transpired on May 26, 1970.

                              The 1971-73 Post-Trial Proceedings

       128.    After the court sentenced Mr. Heidelberg, he filed a writ of coram nobis (the

“section 72 proceedings”) alleging, among other things, that Peoria County Sheriff’s officers,

Peoria City police officers and Hamm and Riddle knew and suppressed the true identity of “Curtis

Smith.” Mr. Heidelberg also alleged that Peoria County officers and prosecutors eavesdropped on

privileged communications with his counsel throughout the investigation.

       129.    Notwithstanding their pre-trial interrogation of James Clark and the evidence in

their possession that led them to Clark and notwithstanding their knowledge of and collusion in

the eavesdropping described above and their possession of Manias’ written report documenting a

specific instance of such eavesdropping, Hamm and Riddle, in conspiracy with the other 1970

Defendants, engaged in a gross abuse of process and predatory resistance to Mr. Heidelberg’s valid

claims with an ulterior motive and purpose—the cover-up of their and the remaining 1970

Defendants’ suppression and destruction of material exculpatory and impeachment evidence and

their fabrication of inculpatory evidence.




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       130.    A few months after Mr. Heidelberg filed his writ, Hamm resigned his position as

an Assistant State’s Attorney but, acting individually, jointly, and in conspiracy with Riddle and

the other 1970 Defendants, Hamm continued to use the litigation process for the improper purpose

of covering up his and the other 1970 Defendants’ misconduct and depriving Heidelberg of the

essential facts crucial to his pursuit of valid claims and his ability to prove his innocence and end

his wrongful conviction and incarceration.

       131.    The 1970 Defendants also attempted to fabricate and did fabricate additional

evidence to discredit James Clark’s confession.

       132.    First, Riddle met with Mason and told him that he had heard that Mason’s wife,

Mary, was facing charges regarding some stolen checks. He then asked Mason if had seen

Heidelberg. When Mason replied that he had, Riddle told him that if he testified for Heidelberg

that would help Heidelberg but right now Mason and Mary needed help and he (Riddle) needed

help too. Mason asked him what he meant and Riddle told him to think very carefully about what

Riddle was about to tell him. Riddle then again falsely told Mason that Heidelberg was trying to

pin the crime on him and asked him if Heidelberg had told Mason that he (Heidelberg) committed

the crime. Mason told Riddle that Heidelberg did not commit the crime nor did Heidelberg ever

tell Mason that that he committed the crime. Riddle told Mason that, if he wanted to see Mary get

help, he had better change that response if he was called to testify in court.

       133.    Riddle then asked Mason if he had been able to get his sentence reduced. Mason

told him he hadn’t and Riddle told him not to worry and that he would take care of it for him.

Riddle then told him to think about what he had said and that he and Hamm would help both Mary

and Mason. Riddle reiterated that Mason could not get on the stand and testify that Heidelberg was




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innocent nor could he testify that James Clark or “Curtis Smith” committed the crime if he wanted

their help.

        134.    Riddle then arranged for Mary to be sentenced to one year of probation and met

with Mason again. After the second meeting, Mason felt he owed Riddle for “saving” Mary and

agreed to and did give a false court-reported statement implicating Mr. Heidelberg. Four days after

giving the statement, Mason documented his meetings and discussions with Riddle and ultimately

refused to sign the court-reported statement. However, Riddle blocked Mason’s testimony by

falsely telling the court that he had a signed affidavit from Mason contradicting Heidelberg’s

claims that Mason was willing to appear and testify. Although Riddle eventually had to admit that

he could not produce the affidavit, the court refused to allow Mason to testify in Heidelberg’s

section 72 proceedings.

        135.    Because Riddle was unsure of whether Mason would ultimately give the false

testimony he wanted (in fact, Mason never did), Riddle, Hamm, and other co-conspirators

including the Unknown Defendant Officers, knowing that Matthew Clark was a recovering drug

addict, used Matthew’s girlfriend to plant drugs in his home so they could falsely charge him with

possession. After they charged him, Riddle told Matthew that he would dismiss the charges if

Matthew would agree to falsely incriminate Mr. Heidelberg in the attempted robbery of the Drive-

In and the murder of Espinoza. In addition, Riddle told Matthew that if he didn’t incriminate

Heidelberg, his brother (James Clark) would be in “big trouble.” Matthew Clark refused to falsely

incriminate Heidelberg.

        136.    Riddle also objected to any live testimony from James Clark regarding his

confession stating to the court: “Would you want him here, your Honor? We don’t want him here.”




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The cover-up was successful and the court ultimately refused to allow Clark and Mason to give

live testimony before dismissing Mr. Heidelberg’s section 72 proceedings on April 25, 1973.

        137.     In committing the misconduct described in the preceding paragraphs, Riddle,

Hamm and the 1970 Defendants made an agreement with one another, and with others currently

unknown to Plaintiff, to individually, jointly, and/or in conspiracy, to further fabricate and suppress

evidence and to engage in the improper use of litigation to cover-up their misconduct and to

perpetuate Mr. Heidelberg’s wrongful conviction and incarceration and to deprive him of meaningful

access to the courts.

        138.     This egregious abuse of process and malicious prosecution continued decade after

decade as Mr. Heidelberg attempted to bring his valid claims and prove his innocence. James Clark

was never allowed to testify in any court proceeding and passed away on May 5, 2015. Shortly

thereafter, defendant Brady joined the conspiracy and continued the abuse of process and

malicious prosecution with the ulterior motive and sole purpose of covering up the misconduct of

the 1970 Defendants generally and of his long-time friend and mentor defendant Hamm

specifically.

     Defendant Brady Is Disqualified From Acting As Prosecutor In Heidelberg’s Case

        139.     After James Clark’s death in May 2015, Matthew Clark came forward and disclosed

that, within a few hours of the attempted robbery and shooting at the Drive-In, James showed up

at their parents’ home and confessed to Matthew that he had shot and killed Sergeant Espinoza.

Matthew also disclosed that James and Lester Mason had possession of Heidelberg’s car the

night/morning of the shooting and that James had later told him that his fingerprints had connected

him (James) to the crime.




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        140.    Matthew’s testimony during the post-conviction hearings regarding James’

confession to him included material facts not contained in James’ affidavit of confession and those

facts could only have been known to the shooter at the time James told them to Matthew. The

additional facts are also corroborated by the testimony of multiple witnesses at trial and by forensic

evidence.

        141.    Matthew Clark also testified that their much younger brother Mark Clark was killed

at the hands of Chicago police during a raid on the Black Panthers on December 4, 1969, just

months before James shot and killed Sergeant Espinoza. Matthew testified that James told him he

could have escaped when Espinoza drove up to the Drive-In but decided to hide and ambush and

murder Sergeant Espinoza in an act of revenge for the killing of Mark Clark. These facts are also

corroborated by the testimony of multiple witnesses at trial and by forensic evidence.

        142.    Matthew also testified that Lester Mason and James Clark had possession of Mr.

Heidelberg’s car the night/morning of the shooting and that Heidelberg was not with them at any

time.

        143.    Matthew, who suffers from bone cancer and cannot travel and who testified at the

post-conviction hearings through a video-taped evidence deposition, had not seen or had any

contact with Heidelberg since his 1970 trial. Nor did he have any contact with Heidelberg after he

came forward.

        144.    Likewise, Mason came forward and reiterated his account of his interactions with

Hamm and Riddle and the events that transpired on the night/morning of the shooting. Mason had

not had any contact with Heidelberg since 1974 when he gave an affidavit attesting, among other

things, that he had borrowed Heidelberg’s car and given it to James and later told Heidelberg he

could pick up his car in the vicinity of the crash site.




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       145.    Heidelberg’s counsel shared this and other substantial evidence, including evidence

from Heidelberg’s FBI files and Manias’ written report detailing the eavesdropping described

above and requested that Brady investigate Heidelberg’s case. Heidelberg’s counsel also continued

to investigate and transmit additional evidence to Brady as it was discovered.

       146.    Rather than commence an investigation, defendant Brady joined in the continuing

agreement and conspiracy to cover-up the misconduct of the 1970 Defendants, including the

misconduct of his long-time friend and mentor defendant Hamm.

       147.    To that end, Brady, who knew that Heidelberg, Mason and Matthew Clark were

elderly and that Heidelberg and Matthew were in extremely poor health (Matthew was suffering

and continues to suffer from bone cancer), failed and refused to interview any of them and failed

and refused to interview Hamm, Manias or Hibser.

       148.    Brady did, however, speak to Hamm by phone on at least 18 occasions during

Heidelberg’s counsel’s investigation. Not one of those calls were of sufficient length to enable any

interview or search for truth. Indeed, Brady sat on the evidence for months and then summarily

informed Heidelberg’s counsel that although there were “issues of concern,” he would not be re-

opening Heidelberg’s case.

       149.    As Heidelberg would later discover, Brady also suppressed additional documents,

including Manias’ notes from at least one instance of eavesdropping.

       150.    Because of Brady’s refusal to investigate, Heidelberg petitioned the circuit court

for appointment of a special prosecutor. Although Brady claimed he had engaged in “an extensive

and exhaustive” investigation, he could not produce any evidence of any investigation whatsoever.




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       151.    The circuit court found that an actual conflict disqualified Brady from acting as

prosecutor and investigating Heidelberg’s case and appointed the Illinois Attorney General’s

Office (“AGO”) as special prosecutor.

       152.    Nonetheless, Brady continued his abuse of process and improper use of the

litigation process for the sole purpose of perpetuating the cover-up and engaged in a predatory

resistance to the petition and used his influence to continue and perpetuate Heidelberg’s malicious

prosecution and unconstitutional deprivation of liberty.

       153.    Brady in fact filed a frivolous motion to reconsider the appointment and when that

was denied, he filed a motion to appoint a special prosecutor in Heidelberg’s post-conviction

proceedings which had commenced shortly after the filing of Heidelberg’s petition to appoint a

special prosecutor.

       154.    The appellate prosecutor’s division has an independent unit of prosecutors who act

only in cases in which a special prosecutor has been appointed and the unit is actually called

“Special Prosecution Unit.” As stated on the appellate prosecutor’s website:

       If a conflict of interest arises in a State's Attorneys office, and the State's Attorney
       wants an independent, detached review and prosecution by an outside person, or if
       special assistance is needed due to the complexity of a case, the Agency makes the
       services of the Special Prosecution Unit available. (emphasis added)

See http://www.ilsaap.org/special_prosecution_unit.htm. Brady, however, bypassed that unit and

successfully sought the appointment of Matt Jones, a local Peoria appellate prosecutor under

Brady’s control and influence, who also just happened to be the prosecutor assigned to oppose

Heidelberg’s requests for parole.

       155.    The day after Jones was appointed, Brady filed a notice of appeal of the circuit

court’s order appointing the AGO as special prosecutor (the “Appointment Order”) to investigate

Heidelberg’s case. He also filed motions to stay the Appointment Order pending appeal. Both the



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circuit court and the appellate court denied his motion. These actions were taken in conspiracy

with Hamm and other 1970 Defendants to continue the cover-up of the 1970 Defendants’

misconduct and the malicious prosecution of Heidelberg and to thwart Heidelberg’s valid claims

and deny him meaningful access to the courts in pursuit of those claims.

       156.    In addition, within two business days of the appointment of the AGO as special

prosecutor, Brady began an extensive email correspondence with the AGO. Although heavily (and

inexplicably5) redacted, the emails reveal that the AGO researched and drafted pleadings on behalf

of Brady to assist in his efforts to thwart the AGO’s own appointment and the independent

investigation the AGO was ordered to conduct. Beyond redacting, the AGO also suppressed email

correspondence and other documents reflecting communications between it and Brady. The AGO

also failed and refused to interview Matthew Clark or Lester Mason even after it had been advised

that Clark’s bone cancer was spreading and that Clark himself feared he would die before he was

able to testify to the truth of Heidelberg’s innocence and undo the damage and injustice done to

Heidelberg in part through his silence.

       157.    After Heidelberg’s conviction was vacated, the AGO, without having conducted

any investigation, moved to dismiss its appointment. The circuit court granted the AGO’s motion

but the appellate court struck the order granting the motion and the AGO remains in place as a

purported independent special prosecutor. Notwithstanding the appellate court’s order, the AGO,

acting in conspiracy with Brady and others, persisted in its refusal to investigate Heidelberg’s case.

       158.    Matt Jones, the purported special prosecutor in Heidelberg’s post-conviction case,

also participated in the drafting of pleadings to defeat the Appointment Order and thwart the


5
 The AGO was not appointed to represent Brady and although the AGO did act as shadow counsel in
contempt of the Appointment Order, it cannot claim any privilege with respect to its communications with
Brady or any pleadings or other documents it prepared on behalf of Brady.


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independent investigation and remained in contact with Brady and the AGO throughout his

appointment. Jones was also surreptitiously feeding information to the press and keeping the press

apprised of events in the case as they unfolded. Jones also mocked Heidelberg’s efforts to secure

bail after his conviction was vacated and derisively referred to Heidelberg as “Shango,” an old

African name brought to the Americas through slavery that Heidelberg had adopted in tribute to

his heritage while in prison.

       159.    Jones, in conspiracy with Brady and Hamm and others, also used the litigation

process for an improper purpose and mounted a predatory resistance to Heidelberg’s valid post-

conviction claims to perpetuate the cover-up and protect the 1970 Defendants, including Hamm.

       160.    At no point during this time did Brady act as a prosecutor. Indeed, he was

disqualified by court order and the appellate court not only affirmed his disqualification but it

independently found that Brady had an actual conflict based on his relationship with Hamm and

had failed to conduct a meaningful investigation. Nonetheless, using the power and authority of

his office and his personal and professional relationships, Brady exerted influence to initiate,

continue and perpetuate the abuse of process and to continue and perpetuate Heidelberg’s

malicious prosecution to maintain the cover-up and delay Heidelberg’s vindication in hopes that

Heidelberg, Mason and Matthew Clark would never be able to expose the misconduct of the 1970

Defendants and that Heidelberg would never be able to assert his valid claims, obtain his freedom

and seek redress for the harms done to him.

                                Heidelberg’s Conviction Is Vacated

       161.    After three days of testimony from six witnesses, the circuit court vacated Mr.

Heidelberg’s conviction, finding that the evidence against him at his criminal trial was of little if

any probative value in that it consisted almost exclusively of in-court identifications which were




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extremely weak and not entitled to much, if any, weight, particularly when viewed in light of the

new evidence which was not available to the jury.

         162.    Specifically, the court noted that Manuel could not identify Mr. Heidelberg at the

lineup or at the June 4, 1970 hearing and that Cremeens identified two different men during the

lineup. As for the in-court identifications by Sack, DeCremer, Watson, and Hibser, the court noted

that Sack admitted to Hamm that he was not certain of his identification, and the remaining

identifications, like Sack’s, were based on the officers’ claims that they were able to see the driver

of the get-away car at night during the course of a high-speed chase of between “70-100 mph” and

that the description of the perpetrator’s clothes in the radio logs was inconsistent with the officers’

identifications. The court also noted that there was no forensic evidence tying Heidelberg to the

crime.

         163.    The only other piece of evidence (which the court referred to as having been the

“anchor” of the evidence at Heidelberg’s trial) was the use of his car in the commission of the

crime and his presence in the vicinity of the crash site. However, the court noted there was a

significant time gap between the driver exiting the car and the apprehension of Heidelberg and that

the State knew almost immediately after the crime from Manias’ eavesdropping “[w]hy

[Heidelberg’s] car was involved.”

         164.    The court also found the testimony of Matthew Clark and Lester Mason who had

asserted their Fifth Amendment rights at Heidelberg’s trial was of critical importance and further

weakened the “anchor” because it established that James Clark had Heidelberg’s car that

night/morning and that defendant Riddle “understood the importance of [their] testimony” at the

time of Heidelberg’s trial. The court found their testimony to be not only credible but beyond

dispute because even the FBI knew James Clark was in Heidelberg’s car that night/morning. As




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the court put it, there can be no “dispute” that James was “the person in the vehicle, not Cleve

Heidelberg,” As the court concluded: “The Court, therefore, finds that it's highly probable that

another jury, when considering all the evidence old and new together, would come to a different

verdict.”

        165.    In short, because all parties, including the State and Defendants in this action,

agreed that the driver of the Chevy was the perpetrator of the crime (Manuel, the hostage, was

found in the Chevy), the court’s finding that James Clark and not Mr. Heidelberg was the driver

of the car was an adjudication of Heidelberg’s actual factual innocence that was binding on the

State and effectively terminated the criminal case against Mr. Heidelberg in a manner indicative

of innocence.

        166.    Notwithstanding this finding of fact not to mention Hamm and Manias’ devastating

admissions during their testimony, Brady, in conspiracy with Jones and Hamm and others,

appealed the court’s ruling for the sole purpose of perpetuating the cover-up and protecting Hamm,

himself and the 1970 Defendants from liability for their misconduct, including their violation of

Mr. Heidelberg’s constitutional rights, their abuse of process and their malicious prosecution of

Heidelberg, and to deny Heidelberg his right to meaningful access to the courts and to assert his

valid claims to redress the harm and injustice done to him.

        167.    Indeed, Brady caused Jones to the file the notice of appeal in open court and just

minutes after the court announced its ruling. Jones did not take a single minute to review the court’s

findings or to consider Hamm and Manias’ dispositive admissions during their testimony. In fact,

there was no basis in law or fact to support the appeal.6




6
 Jones also opposed bail and argued that the court should require a $5,000,000 bond for a 74-year-old man
in such poor health that he couldn’t even walk a half block without resting.


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       168.    And, as it turned out, after the notice was filed, the appeal was ignored and the due

date for the State’s opening brief came and went without a word from the State. Eventually, the

State admitted that it had forgotten all about the appeal (an appeal that was so pressing it was

prematurely filed) and sought and received a nearly three-month extension during which it cobbled

together nonsensical arguments unsupported by law or fact that could never be sustained under

well-settled and binding precedent.

       169.    Just a few days before the State’s closing brief was due, Mr. Heidelberg, out on bail

for less than 10 months and with a 24-hour monitoring device attached to his person, died in his

sleep. Rather than file the closing brief, Brady caused the State to file a motion to dismiss the

appeal claiming the appeal was now moot. However, the appeal was far from moot from the State’s

perspective. There remained an actual case and controversy—the reversal of the order vacating

Mr. Heidelberg’s conviction and in particular the findings of factual innocence by the circuit court.

       170.    Had there been any purpose other than the cover-up of the misconduct set forth in

this complaint and had there been a single argument that could have been made in reply to

Heidelberg’s response brief, the State would have filed its brief and opposed any attempt by

Heidelberg’s estate to dismiss it (no such attempt was ever made).

                    Heidelberg’s Wrongful Conviction and Imprisonment

       171.    In 1970, as a result of 1970 Defendants’ misconduct and based on the false evidence

described in this complaint, Heidelberg was arrested, indicted, prosecuted, and convicted of

murder. The trial court spared Heidelberg the death penalty, and he was sentenced to 99 to 175

years in prison.

       172.    Without the 1970 Defendants’ fabrication, manufacture, suppression and

destruction of evidence, Heidelberg never would have been arrested, indicted, prosecuted, or




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convicted. At no point in time between 1970 and the present day has there been any credible

evidence giving rise to probable cause to suspect Heidelberg of the murder of Sergeant Espinoza.

       173.    In addition, without the 1970 Defendants’ violation of Mr. Heidelberg’s right to

effective counsel and to present a defense, Heidelberg would not have been deprived of the advice

and counsel and evidence necessary to present a defense and prove his innocence.

       174.    Because of the 1970 Defendants’ misconduct, Heidelberg was taken away from,

and missed out on, the lives of his family and friends. He returned home to relationships changed

or lost by decades away. While in prison, Heidelberg’s mother, father and three of his sisters died.

       175.    Heidelberg was robbed of the prime of his life. He was deprived of opportunities to

gain an education, to engage in meaningful labor, to develop a career, and to pursue his interests

and passions. He was unable to participate in the life or rearing of his son or have other children

and was deprived of all the basic pleasures of human experience, which all free people enjoy as a

matter of right, including the freedom to live one’s life as an autonomous human being.

       176.    During his 47 years of wrongful imprisonment, Heidelberg was detained in harsh

and dangerous conditions in maximum-security prisons. Numerous times he was detained in

solitary confinement.

       177.    Because Heidelberg was sentenced to 99 to 175 years in prison, he feared he would

die inside the prison walls.

       178.    In addition to the severe trauma of wrongful imprisonment and Heidelberg’s loss

of liberty, Defendants’ misconduct continued to cause Heidelberg extreme physical and

psychological pain and suffering, humiliation, constant fear, nightmares, anxiety, depression,

despair, rage, and other physical and psychological effects through the date of his death.




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          179.    Defendant Brady, acting individually and jointly and in conspiracy with the 1970

Defendants and other co-conspirators, joined in and ratified this misconduct and engaged in an

abuse of process designed to perpetuate the cover-up and deny Heidelberg his freedom and his

constitutional right of access to the courts and seek redress for injury and harms done to him and

to perpetuate and continue Heidelberg’s wrongful conviction and incarceration and malicious

prosecution.

                                               COUNT I
      42 U.S.C. § 1983 – Post-Legal Process Detention Without Probable Cause
                           (Deprivation of Liberty without Probable Cause)
                             (Fourth and Fourteenth Amendments)

          180.     Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          181.     In the manner described above, the 1970 Defendants, individually, jointly, and in

conspiracy with one another, as well as under color of law and within the scope of their

employment, accused Heidelberg of criminal activity and exerted influence to initiate, continue,

and perpetuate judicial proceedings against him without any probable cause for doing so and in

spite of the fact that they knew he was innocent, in violation of his rights secured by the Fourth

and Fourteenth Amendments.

          182.     In so doing, the 1970 Defendants caused Heidelberg to be deprived of his liberty

without probable cause and subjected improperly to judicial proceedings for which there was no

probable cause. These judicial proceedings were instituted and continued maliciously, resulting in

injury.

          183.     The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, and with malice.

          184.     Defendant Brady joined in the conspiracy and ratified the misconduct set forth in

this complaint and, after he was removed as prosecutor, perpetuated and continued Heidelberg’s


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unconstitutional deprivation of liberty through the date of his death.

       185.     As a result of the 1970 Defendants’ and defendant Brady’s misconduct described

in this Count, Heidelberg suffered loss of liberty, great mental anguish, humiliation, degradation,

physical and emotional pain and suffering, and other grievous and continuing injuries and damages

as set forth above through the date of his death.

                                            COUNT II
        42 U.S.C. § 1983 – Due Process, Wrongful Conviction & Illegal Confinement
                                     (Fourteenth Amendment)

       186.    Plaintiff incorporates each paragraph of this complaint as if fully restated herein.

       187.    As described in detail above, the 1970 Defendants, while acting individually,

jointly, and/or in conspiracy with one another, as well as under color of law and within the scope

of their employment, deprived Heidelberg of his constitutional right to a fair trial and his right not

to be wrongfully convicted.

       188.    In the manner described more fully above, the 1970 Defendants deliberately

withheld exculpatory evidence from Heidelberg, the court and from competent prosecutors and

authorities not involved in the conspiracy, thereby misleading and misdirecting the criminal

prosecution of Heidelberg.

       189.    The 1970 Defendants also fabricated and manufactured evidence and solicited false

evidence—including witness statements and witness testimony that they knew to be false and

perjured—fabricated police reports falsely implicating Heidelberg in the crime, obtained

Heidelberg’s conviction using that false evidence, and failed to correct fabricated evidence that

they knew to be false when it was used against Heidelberg during his criminal case.

       190.    The 1970 Defendants also destroyed physical evidence that, if subjected to forensic

testing, would have demonstrated Heidelberg’s innocence. The 1970 Defendants destroyed this



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physical evidence knowing that it had exculpatory value. In the alternative, these defendants

destroyed this potentially exculpatory evidence in bad faith.

       191.    The 1970 Defendants’ misconduct directly resulted in the unjust and wrongful

criminal prosecution and conviction of Heidelberg and the deprivation of Heidelberg’s liberty,

thereby denying his constitutional right to a fair trial guaranteed by the Fourteenth Amendment.

Absent this misconduct, the prosecution of Heidelberg could not have and would not have been

pursued.

       192.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Heidelberg’s clear innocence.

       193.    Defendant Brady joined in the conspiracy and ratified such misconduct and as set

forth in this complaint perpetuated and continued the injury and damage to Heidelberg through the

date of his death.

       194.    As a result of the 1970 Defendants’ and defendant Brady’s misconduct, Heidelberg

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, forced and involuntary prison labor, and other grievous and continuing injuries

and damages as set forth above.

                                            COUNT III
   42 U.S.C. § 1983 – Deprivation of Right To Counsel and To Present A Defense
                             (Sixth and Fourteenth Amendments)

       195.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       196.      In the manner described above, the 1970 Defendants, individually, jointly, and in

conspiracy with one another, as well as under color of law and within the scope of their

employment, spied on privileged communications between Heidelberg and his counsel

commencing from the date of arrest and continuing throughout the pre-trial proceedings. This



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misconduct was intended to and did undermine Heidelberg’s confidence and trust in his counsel

and his ability to work with his counsel to prepare his defense.

       197.     In addition, the 1970 Defendants used the information obtained through their

unconstitutional spying to wholly thwart Heidelberg’s defense by depriving him of essential

evidence crucial to his defense as more fully described above. This misconduct irreparably tainted

and corrupted Heidelberg’s trial and caused his wrongful conviction and incarceration.

       198.     As a result of the 1970 Defendants’ misconduct, Heidelberg suffered loss of

liberty, great mental anguish, humiliation, degradation, physical and emotional pain and suffering,

and other grievous injuries and damages that continued through the date of his death.

                                           COUNT IV
                             42 U.S.C. §1983 – Failure to Intervene

       199.    Heidelberg incorporates each paragraph of this complaint as if fully restated here.

       200.    In the manner described above, during the constitutional violations described

herein, one or more of the Defendants stood by without intervening to prevent the violation of

Heidelberg’s constitutional rights, even though they had the duty and opportunity to do so.

       201.    As a result of Defendants’ failure to intervene to prevent the violation of

Heidelberg’s constitutional rights, Heidelberg suffered pain and injury, as well as emotional

distress. These Defendants had ample, reasonable opportunities as well as the duty to prevent this

harm but failed to do so.

       202.    As a result of Defendants’ misconduct described in this Count, Heidelberg suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.




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                                             COUNT V
                    42 U.S.C. § 1983 – Conspiracy to Deny Access to Courts

       203.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       204.      Pleading in the alternative and to the extent any of the claims asserted in this

complaint are deemed barred by res judicata, the 1970 Defendants, while acting individually,

jointly, and in conspiracy with one another, as well as under color of law and within the scope of

their employment, denied Heidelberg access to the courts to assert these claims, in violation of the

First and Fourteenth Amendments.

       205.      Including but not limited to the misconduct described above, these defendants,

acting in concert with other co-conspirators, known and unknown, reached an agreement to

conceal, obscure, and destroy evidence related to their investigation of Sergeant Espinoza’s murder

and to their unconstitutional conduct and thereby to deprive Heidelberg of essential facts that were

crucial to his pursuit of these claims.

       206.      In so doing, the 1970 Defendants and their co-conspirators conspired to

accomplish an unlawful purpose by an unlawful means. In addition, these co-conspirators agreed

among themselves to protect one another from liability for their actions in the course of the

Espinoza homicide investigation.

       207.      In furtherance of their conspiracy, these defendants and their co-conspirators

committed overt acts and were otherwise willful participants in joint activity up to and through the

date of Heidelberg’s death.

       208.      Pursuant to the agreement described in this Count, Defendants did conceal,

obscure, and destroy documentary evidence relating to their investigation of the Espinoza

homicide. The destroyed evidence bears directly on Heidelberg’s innocence. Prior to destroying

this and other relevant evidence, the 1970 Defendants and their agents knew that the evidence


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tended to prove Heidelberg’s innocence, and they destroyed the evidence in an effort to conceal

evidence of their wrongdoing.

       209.       To the extent any of the claims in this complaint are deemed barred by res judicata,

the actions of 1970 Defendants described in this Count deprived Heidelberg of facts that were

crucial to Heidelberg’s meaningful pursuit of a legal action and thereby denied him his right to

access the courts. In so doing, the 1970 Defendants directly interfered with Heidelberg’s ability to

meaningfully pursue a legal action and diminished the value of his legal action or, in the alternative,

prevented him from pursuing a legal action at all.

       210.       The misconduct described in this Count was objectively unreasonable and was

undertaken by the 1970 Defendants intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Heidelberg’s clear innocence.

       211.       As a result of the 1970 Defendants misconduct described in this Count, Heidelberg

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, monetary loss and loss of his legal claims, and other grievous and continuing

injuries and damages as set forth above.

       212.       Heidelberg’s injuries described in this Count were caused by the policies,

practices, and customs of the Peoria Police Department and the Peoria County Sheriff’s Office, as

set out above.

                                             COUNT VI
                 State Law Claim – Intentional Infliction of Emotional Distress

       213.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       214.      The actions, omissions, and conduct of Defendants as set forth above were extreme

and outrageous. These actions were rooted in an abuse of power and authority and were undertaken




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with the intent to cause, or were in reckless disregard of the probability that their conduct would

cause, severe emotional distress to Heidelberg, as is more fully alleged above.

          215.    As a direct and proximate result of Defendants’ actions, Heidelberg suffered and

continued to suffer emotional distress and other grievous and continuing injuries and damages

through the date of his death as set forth above.

                                              COUNT VII
                                 State Law Claim – Civil Conspiracy

          216.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          217.    As described more fully in the preceding paragraphs, Defendants, acting in concert

with other co-conspirators, known and unknown, reached an agreement among themselves to

frame Heidelberg for a crime he did not commit and conspired by concerted action to accomplish

an unlawful purpose and/or to achieve a lawful purpose by unlawful means. In addition, these co-

conspirators agreed among themselves to protect one another from liability for depriving

Heidelberg of these rights.

          218.    In furtherance of their conspiracy, each of the co-conspirators committed overt acts

and were otherwise willful participants in joint activity, including acting to further the cover-up

and perpetuate his wrongful conviction and incarceration and to continue the denial of

Heidelberg’s constitutional rights, including his right to seek redress for the injury and harms done

to him.

          219.    The violations of Illinois law described in this complaint, including Defendants’

intentional infliction of emotional distress, were accomplished by Defendants’ conspiracy.

          220.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Heidelberg’s clear innocence.




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       221.    As a result of Defendants’ misconduct described in this Count, Heidelberg suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above through the

date of his death.

                                           COUNT VIII
                           State Law Claim – Malicious Prosecution

       222.      Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       223.    In the manner described above, Defendants, individually, jointly, and/or in

conspiracy with one another, as well as within the scope of their employment, falsely accused

Heidelberg of criminal activity and exerted influence to initiate and to continue and perpetuate

judicial proceedings against him with malice and without any probable cause for doing so.

       224.      In so doing, Defendants caused Heidelberg to be improperly subjected to judicial

proceedings for which there was no probable cause. These judicial proceedings were instituted

and continued maliciously, resulting in injury.

       225.      The proceedings against Mr. Heidelberg terminated in a manner indicative of

innocence and thereafter abated ab initio as a matter of law pursuant to 725 ILCS 5/115-4.5.

       226.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, and in total disregard of the truth and Heidelberg’s clear

innocence.

       227.      As a result of Defendants’ misconduct described in this Count, Heidelberg

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and injuries and damages as set forth above that continued

through the date of his death.




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                                          COUNT IX
                               State Law Claim--Abuse of Process

       228.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       229.    Defendants Brady and Hamm and other co-conspirators, conspired to and did use

the litigation process for an improper purpose and with an ulterior motive and engaged in predatory

resistance to Heidelberg’s valid claims as described in this complaint.

       230.    In addition, defendants Brady and Hamm in conspiracy with Jones misrepresented

the law to the circuit court claiming that the court had no jurisdiction to grant bail to Mr. Heidelberg

and successfully obtained an order denying bail to Mr. Heidelberg and perpetuating and continuing

his unconstitutional confinement. After the circuit court’s order was overturned on appeal,

Defendants Brady and Hamm in conspiracy with Jones opposed Mr. Heidelberg’s request for bail

and successfully sought and obtained an order requiring a cash bond in the amount of $50,000 and

twenty-four monitoring thereby continuing Mr. Heidelberg’s unconstitutional deprivation of

liberty when they had no intention of ever retrying him and in fact had no evidence to support

probable cause for the charges, or with which to retry him, after Hamm, Manias and Hibser’s

dispositive admissions, the testimony of Lester Mason and Matthew Clark and the circuit court’s

factual finding that James Clark was the driver of the Chevy and that the 1970 Defendants and the

FBI knew that James Clark was the driver of Chevy. All of the defendants in this action have

conceded that the driver of the Chevy was the man who committed the crimes of which Mr.

Heidelberg was convicted.

       231.    As a result of this misconduct described in this Count, the sole purpose of which

was to perpetuate and continue the cover-up, Mr. Heidelberg was seized and arrested and

unlawfully detained and thereby suffered loss of liberty, great mental anguish, humiliation,




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degradation, physical and emotional pain and suffering, and other grievous and injuries and

damages as set forth in this complaint that continued through the date of his death.

                                             COUNT X
                             State Law Claim – Respondeat Superior

        232.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        233.    While committing the misconduct alleged in the preceding paragraphs, Defendants

were employees, members, and agents of the City of Peoria or Peoria County, acting at all relevant

times within the scope of their employment.

        234.    Defendants City of Peoria and Peoria County are liable as principal for all torts

committed by its agents.

                                             COUNT XI
                                State Law Claim – Indemnification

        235.    Plaintiff incorporates each paragraph of this complaint as if fully restated herein.

        236.    Illinois statute provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        237.    Defendants were employees, members, and agents of the City of Peoria or Peoria

County, acting at all relevant times within the scope of their employment in committing the

misconduct described herein.

        238.    The City of Peoria and Peoria County are responsible to pay any judgment entered

against their employees. Heidelberg therefore demands judgment against the City of Peoria and

Peoria County in the amounts awarded to Heidelberg against the individual Defendants as

damages, attorneys’ fees, costs and interest.




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        WHEREFORE, Plaintiff Stephen Heidelberg, as the duly appointed administrator of the

estate of Cleve Heidelberg, Jr., respectfully requests that this Court enter a judgment in his favor

and against Defendants, awarding compensatory damages in excess of $100,000,000, attorneys’

fees and costs against each Defendant and, because they acted willfully, wantonly, and/or

maliciously, punitive damages against each of the individual Defendants, and such other and

further relief as this Court deems just and appropriate.


                                        JURY DEMAND

        Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b)

on all issues so triable.



                                                             Respectfully submitted,

                                                             Stephen Heidelberg, as administrator
                                                             of the estate of Cleve Heidelberg, Jr.


                                                             BY:

                                                                 /s/ Amy A. Hijjawi
                                                                 One of His Attorneys

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